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 13
                           UNITED STATES DISTRICT COURT
 14
                         CENTRAL DISTRICT OF CALIFORNIA
 15
                                   WESTERN DIVISION
 16
 17
    JESSE SCHMIDT and STEVEN                    Case No.: 8:24-cv-00200
 18 JANTZEN, individually, and on behalf
 19 of all others similarly situated,
 20               Plaintiffs,                   CLASS ACTION COMPLAINT
 21 vs.
 22                                             DEMAND FOR JURY TRIAL
      LOANDEPOT, INC.,
 23
 24               Defendant.
 25
 26
 27
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  1        Plaintiffs Jesse Schmidt and Steven Jantzen, individually, and on behalf of all
  2 others similarly situated, bring this Class Action Complaint (“Complaint”) against
  3 Defendant LoanDepot, Inc. (“Defendant” or “LDI”), to obtain damages, restitution,
  4 and injunctive relief for the Class, as defined below, from Defendant. Plaintiffs make
  5 the following allegations on information and belief, except as to their own actions,
  6 which are made on personal knowledge, the investigation of counsel, and the facts
  7 that are a matter of public record.
  8                                    INTRODUCTION
  9        1.      This class action arises out of the recent targeted ransomware attack and
 10 data breach (“Data Breach”) on LDI’s network that resulted in unauthorized access
 11 to the highly sensitive data of roughly 16.6 million individuals.1 As a result of the
 12 Data Breach, Class Members suffered ascertainable losses in the form of the benefit
 13 of their bargain, out-of-pocket expenses, and the value of their time reasonably
 14 incurred to remedy or mitigate the effects of the attack, emotional distress, and the
 15 present risk of imminent harm caused by the compromise of their sensitive personal
 16 information.
 17        2.      Upon information and belief, the specific information compromised in
 18 the Data Breach includes, but is not limited to, personally identifiable information
 19 (“PII”), such as full names, dates of birth, addresses, Social Security numbers, and
 20 tax identification numbers.
 21        3.      Upon information and belief, up to and through January 2024,
 22 Defendant obtained the PII of Plaintiffs and Class Members and stored that PII,
 23 unencrypted, in an Internet-accessible environment on Defendant LDI’s network,
 24 from which unauthorized actors used an extraction tool to retrieve sensitive PII
 25 belonging to Plaintiffs and Class Members.
 26        4.      Plaintiffs’ and Class Members’ PII—which were entrusted to
 27
     https://media.loandepot.com/news-releases/press-release-details/2024/l₋oanDepot-
      1
 28 Provides-Update-on-Cyber-Incident/default.aspx (last accessed January 23, 2024).

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  1 Defendant, their officials, and agents—were compromised and unlawfully accessed
  2 due to the Data Breach.
  3          5.    Plaintiffs bring this class action lawsuit on behalf of those similarly
  4 situated to address Defendant’s inadequate safeguarding of Plaintiffs’ and Class
  5 Members’ PII that Defendant collected and maintained, and for Defendant’s failure
  6 to provide timely and adequate notice to Plaintiffs and other Class Members that
  7 their PII had been subject to the unauthorized access of an unknown, unauthorized
  8 party.
  9          6.    Defendant maintained the PII in a negligent and/or reckless manner. In
 10 particular, the PII was maintained on Defendant’s computer system and network in
 11 a condition vulnerable to cyberattacks. Upon information and belief, the mechanism
 12 of the cyberattack and potential for improper disclosure of Plaintiffs’ and Class
 13 Members’ PII was a known risk to Defendant, and thus Defendant was on notice that
 14 failing to take steps necessary to secure the PII from those risks left that property in
 15 a dangerous condition.
 16          7.    In addition, upon information and belief, Defendant and its employees
 17 failed to properly monitor the computer network, IT systems, and integrated service
 18 that housed Plaintiffs’ and Class Members’ PII.
 19          8.    Defendant’s failure to safeguard its clients PII is particularly heinous in
 20 light of the fact that Defendant suffered a separate, prior data breach in August 2022
 21 about which it notified its customers nearly a year later in May 2023.
 22          9.    Plaintiffs’ and Class Members’ identities are now at risk because of
 23 Defendant’s negligent conduct because the PII that Defendant collected and
 24 maintained is now in the hands of malicious cybercriminals. The risks to Plaintiffs
 25 and Class Members will remain for their respective lifetimes.
 26          10.   Defendant failed to provide timely, accurate and adequate notice to
 27 Plaintiffs and Class Members. Plaintiffs’ and Class Members’ knowledge about the
 28 PII Defendant lost, as well as precisely what type of information was unencrypted

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  1 and in the possession of unknown third parties, was unreasonably delayed by
  2 Defendant’s failure to warn impacted persons immediately upon learning of the Data
  3 Breach.
  4             11.   As remediation for allowing Plaintiffs’ and Class Members’ PII to be
  5 acquired by an unauthorized third-party, Defendant has stated that “[t]he Company
  6 will notify [the affected] individuals and offer credit monitoring and identity
  7 protection services and no cost to them.” 2 To date, Defendant has not contacted or
  8 offered any remediation to the victims of this Data Breach, but this assurance serves
  9 as tacit acknowledgement of the harm and elevate risk that 16.6 million individuals
 10 now face as a result of Defendant’s acts and omissions.
 11             12.   Indeed, armed with the PII accessed in the Data Breach, data thieves
 12 can commit a variety of crimes including opening new financial accounts in Class
 13 Members’ names, taking out loans in Class Members’ names, using Class Members’
 14 names to obtain medical services, using Class Members’ information to target other
 15 phishing and hacking intrusions using Class Members’ information to obtain
 16 government benefits, filing fraudulent tax returns using Class Members’
 17 information, obtaining driver’s licenses in Class Members’ names but with another
 18 person’s photograph, and giving false information to police during an arrest.
 19             13.   As a result of the Data Breach, Plaintiffs and Class Members have been
 20 exposed to a present, heightened and imminent risk of fraud and identity theft.
 21 Plaintiffs and Class Members must now closely monitor their financial accounts to
 22 guard against identity theft for the rest of their lives.
 23             14.   Plaintiffs and Class Members may also incur out of pocket costs for
 24 purchasing credit monitoring services, credit freezes, credit reports, or other
 25 protective measures to deter and detect identity theft.
 26             15.   By their Complaint, Plaintiffs seek to remedy these harms on behalf of
 27
      2
 28       Id.

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  1 themselves and all similarly situated individuals whose PII was accessed during the
  2 Data Breach.
  3        16.    Accordingly, Plaintiffs bring claims on behalf of themselves and the
  4 Class for: (i) negligence, (ii) invasion of privacy and (iii) unjust enrichment, (iv)
  5 violations of the California Unfair Competition Law, (v) violations of the Florida
  6 Deceptive an Unfair Trade Practices Act; and (vi) declaratory judgment and
  7 injunctive relief. Through these claims, Plaintiffs seek, inter alia, damages and
  8 injunctive relief, including improvements to Defendant’s data security systems and
  9 integrated services, future annual audits, and adequate credit monitoring services.
 10                                        PARTIES
 11        17.    Plaintiff Jesse Schmidt is a natural person, resident, and citizen of Port
 12 St. Lucie, Florida, where he intends to remain. He is a Data Breach victim, having
 13 applied for a loan from Defendant in or about November 2023.
 14        18.    Plaintiff Steven Jantzen is a natural person, resident, and citizen of
 15 Crowley, Texas, where he intends to remain. He is a Data Breach victim, having
 16 applied for a loan from Defendant in or about November 2023.
 17        19.    Defendant LoanDepot, Inc, is a provider of mortgages and lending
 18 services. LDI is headquartered at 6561 Irvine Center Drive, Irvine, CA 92610.
 19        20.    Defendant LDI is an affiliate or parent company of numerous other
 20 companies, including but not limited to: LD Holdings Group LLC, loanDepot.com,
 21 LLC, LD Settlement Services, LLC, American Coast Title Company, Inc.,
 22 melloInsurance Services, LLC, Closing USA of Alabama, LLC, Closing USA LLC,
 23 Closing USA of Arkansas, LLC, Commercial Agency USA, LLC, Closing USA of
 24 Delaware, LLC, Closing USA of Utah, LLC, mello Holdings, LLC, mello Home
 25 Services, LLC, mello Home, Inc., MTH Mortgage, LLC, MSC Mortgage, LLC, Tri
 26 Pointe Connect, LLC, Day One Mortgage, LLC, loanDepot-FB Mortgage, LLC
 27 (d/b/a Farm Bureau Mortgage), Heartwood Mortgage, LLC, BRP Home Mortgage,
 28 LLC, Henlopen Mortgage, LLC, LGI Mortgage Solutions, LLC, NHC Mortgage,

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  1 LLC.
  2         21.   Defendant LDI is a corporation formed in Delaware and registered in
  3 good standing in California. According to the California Secretary of State,
  4 Defendant’s California Registered Corporate Agents are Jackson Yang, Gabriela
  5 Gonzalez, Jeffrey Kurtz, Jennifer McLaughlin, Jaclyn Wright, Adam Saldana,
  6 Mackenzie Hibler, Alvine Sayre, Jessice Wittry, Angela Castillo, Ashley Sims, and
  7 Emily Rendon.
  8                            JURISDICTION AND VENUE
  9         22.   This Court has original jurisdiction over this action under the Class
 10 Action Fairness Act, 28 U.S.C. § 1332(d)(2) because at least one member of the
 11 putative Class, including Plaintiffs, are citizens of a different state than Defendant,
 12 there are more roughly 16.6 million putative class members, and the amount in
 13 controversy exceeds $5 million exclusive of interest and costs.
 14         23.   This Court has personal jurisdiction over Defendant because Defendant
 15 and/or its parents or affiliates are headquartered in this District and Defendant
 16 conducts substantial business in California and in this District through its
 17 headquarters, offices, parents, and affiliates.
 18         24.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
 19 Defendant’s principal places of business is in this District and a substantial part of
 20 the events, acts, and omissions giving rise to Plaintiffs’ claims occurred in this
 21 District.
 22                               BACKGROUND FACTS
 23 A.      Defendant’s Businesses
 24         25.   Defendant LDI is the country’s fifth largest retail mortgage lender and
 25 the second largest nonbank retail originator. Since its founding in 2010, Defendant
 26 has provided more than $275 billion in lending. LDI currently employes more than
 27
 28

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  1 6,000 individuals and services more than 27,000 customers each month. 3
  2           26.   On information and belief, Defendant maintain the PII of customers,
  3 employees, and others, including but not limited to:
  4                  a.    name, address, phone number and email address;
  5                  b.    date of birth;
  6                  c.    demographic information;
  7                 d.     Social Security number;
  8                 e.     tax identification number;
  9                 f.     financial information;
 10                 g.     medication information;
 11                 h.     health insurance information;
 12                 i.     photo identification;
 13                 j.     employment information, and;
 14                 k.     other information that Defendant may deem necessary to provide
 15                        its services.
 16           27.   Plaintiffs and Class Members directly or indirectly entrusted Defendant
 17 with sensitive and confidential PII, which includes information that is static, does
 18 not change, and can be used to commit myriad financial crimes.
 19           28.   Because of the highly sensitive and personal nature of the information
 20 Defendant acquires, stores, and has access to, Defendant, upon information and
 21 belief, promised to, among other things: keep PII private; comply with industry
 22 standards related to data security and PII; inform individuals of their legal duties and
 23 comply with all federal and state laws protecting PII; only use and release PII for
 24 reasons that relate to medical care and treatment; and provide adequate notice to
 25 impacted individuals if their PII is disclosed without authorization.
 26           29.   By obtaining, collecting, using, and deriving a benefit from Plaintiffs’
 27
 28
      3
          https://www.loandepot.com/about (last accessed January 23, 2024)

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  1 and Class Members’ PII, Defendant assumed legal and equitable duties and knew or
  2 should have known that it was responsible for protecting Plaintiffs’ and Class
  3 Members’ PII from unauthorized disclosure.
  4            30.   Plaintiffs and the Class Members have taken reasonable steps to
  5 maintain the confidentiality of their PII.
  6            31.   Plaintiffs and the Class Members relied on Defendant to implement and
  7 follow adequate data security policies and protocols, to keep their PII confidential
  8 and securely maintained, to use such PII solely for business purposes, and to prevent
  9 the unauthorized disclosures of the PII.
 10 B.         Defendant Fails to Safeguard Consumer PII
 11            32.   On or around January 8, 2024, Defendant LDI posted the following
 12 online:
 13            LoanDepot is experiencing a cyber incident. We have taken certain
 14            systems offline and are working diligently to restore normal business
 15            operations as quickly as possible. We are working quickly to understand
 16            the extent of the incident and taking steps to minimize its impact. The
 17            Company has retained leading forensics experts to aid in our
 18            investigation and is working with law enforcement. We sincerely
 19            apologize for any impacts to our customers and we are focused on
 20            resolving these matters as soon as possible. 4
 21            33.   Over the next several days and weeks, Defendant continued to
 22 intermittently post updates to its website alerting customers when its various
 23 subsidiaries’ payment portals were reactivated.5 On or about January 22, 2024,
 24 Defendant posted the following statement in response to the Data Breach:
 25            The Company has been working diligently with outside forensics and
 26
      4
          https://loandepot.cyberincidentupdate.com/ (last accessed January 23, 2024)
 27
 28
      5
          https://loandepot.cyberincidentupdate.com/ (last accessed January 23, 2024)

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  1        security experts to investigate the incident and restore normal operations
  2        as quickly as possible. The Company has made significant progress in
  3        restoring our loan origination and loan servicing systems, including our
  4        MyLoanDepot and Servicing customer portals.
  5
  6        Although its investigation is ongoing, the Company has determined that
  7        an unauthorized third party gained access to sensitive personal
  8        information of approximately 16.6 million individuals in its systems. The
  9        Company will notify these individuals and offer credit monitoring and
 10        identity protection services at no cost to them.
 11
 12        “Unfortunately, we live in a world where these types of attacks are
 13        increasingly frequent and sophisticated, and our industry has not been
 14        spared. We sincerely regret any impact to our customers,” said
 15        LoanDepot CEO Frank Martell. “The entire LoanDepot team has worked
 16        tirelessly throughout this incident to support our customers, our partners
 17        and each other. I am pleased by our progress in quickly bringing our
 18        systems back online and restoring normal business operations.”
 19
 20        “Our customers are at the center of everything we do,” said Jeff Walsh,
 21        President of LDI Mortgage. “I’m really proud of our team, and we’re
 22        glad to be back to doing what we do best: enabling our customers across
 23        the country to achieve their financial goals and dreams of
 24        homeownership.”
 25
 26        The Company is committed to keeping its customers, partners and
 27        employees informed and will provide any additional operational updates
 28

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   1         on our microsite at loandepot.cyberincidentupdate.com.6
   2         34.   To date, Defendant’s investigation has determined that the private
   3 information of roughly 16.6 million customers and other affiliated individuals was
   4 accessed and compromised by an unauthorized user on or about January 8, 2024.
   5         35.   It is likely the Data Breach was targeted at Defendant due to its status
   6 as a financial services provider that collects, creates, and maintains sensitive PII.
   7         36.   Upon information and belief, the cyberattack was expressly designed to
   8 gain access to private and confidential data of specific individuals, including (among
   9 other things) the PII of Plaintiffs and the Class Members.
  10         37.   While Defendant LDI stated in its public notice it would directly notify
  11 the affected individuals and that it is committed to keeping the victims informed,
  12 upon information and belief Defendant has not yet directly notified Plaintiffs or Class
  13 Members.
  14         38.   Upon information and belief, and based on the type of cyberattack, it is
  15 plausible and likely that Plaintiffs’ PII was stolen in the Data Breach. Plaintiffs
  16 further believe their PII was likely subsequently sold on the dark web following the
  17 Data Breach, as that is the modus operandi of cybercriminals.
  18         39.   Defendant had a duty to adopt reasonable measures to protect Plaintiffs’
  19 and Class Members’ PII from involuntary disclosure to third parties.
  20         40.   In response to the Data Breach, Defendant LDI admits it worked with
  21 external “security experts” to determine the nature and scope of the incident and
  22 purports to have taken steps to secure the systems. Defendant LDI admits additional
  23 security was required, but there is no indication whether these steps are adequate to
  24 protect Plaintiffs’ and Class Members’ PII going forward.
  25         41.   Because of the Data Breach, data thieves were able to gain access to
  26
  27  https://media.loandepot.com/news-releases/press-release-details/2024/loanDepot-
       6


  28 Provides-Update-on-Cyber-Incident/default.aspx (last accessed January 23, 2024)

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   1 Defendant’s private systems on January 8, 2024, and were able to compromise,
   2 access, and acquire the protected PII of Plaintiffs and Class Members.
   3         42.    Defendant had obligations created by contract, industry standards,
   4 common law, and its own promises and representations made to Plaintiffs and Class
   5 Members to keep their PII confidential and to protect them from unauthorized access
   6 and disclosure.
   7         43.    Plaintiffs and the Class Members reasonably relied (directly or
   8 indirectly) on Defendant’s sophistication to keep their sensitive PII confidential; to
   9 maintain proper system security; to use this information for business purposes only;
  10 and to make only authorized disclosures of their PII.
  11         44.    Plaintiffs’ and Class Members’ unencrypted, unredacted PII was
  12 compromised due to Defendant’s negligent and/or careless acts and omissions, and
  13 due to the utter failure to protect Class Members’ PII. Criminal hackers obtained
  14 their PII because of its value in exploiting and stealing the identities of Plaintiffs and
  15 Class Members. The risks to Plaintiffs and Class Members will remain for their
  16 respective lifetimes.
  17 C.      The Data Breach was a Foreseeable Risk and Defendant Knew or Should
  18         Have Known That They Were a Target of Cybercriminals
  19         45.    Defendant’s data security obligations were particularly important given
  20 the substantial increase in cyberattacks and/or data breaches in the mortgage industry
  21 and other industries holding significant amounts of PII preceding the date of the
  22 breach.
  23         46.    In light of recent high profile data breaches at other financial services
  24 companies, Defendant knew or should have known that their electronic records and
  25 PII they maintained would be targeted by cybercriminals and ransomware attack
  26 groups.
  27         47.    Defendant LDI knew or should have known that these attacks were
  28 common and foreseeable.

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   1        48.      Indeed, LDI itself was subject to a separate data breach in August 2022,
   2 which LDI waited nearly a year (until May 2023) to disclose to its customers,
   3        49.      In the third quarter of the 2023 fiscal year alone, 7333 organizations
   4 experienced data breaches, resulting in 66,658,764 individuals’ personal information
   5 being compromised. 7
   6        50.      In light of recent high profile data breaches at other industry leading
   7 companies, including, Microsoft (250 million records, December 2019), Wattpad
   8 (268 million records, June 2020), Facebook (267 million users, April 2020), Estee
   9 Lauder (440 million records, January 2020), Whisper (900 million records, March
  10 2020), and Advanced Info Service (8.3 billion records, May 2020), Defendant knew
  11 or should have known that the PII that they collected and maintained would be
  12 targeted by cybercriminals
  13        51.      Therefore, the increase in such attacks, and attendant risk of future
  14 attacks, was widely known to the public and to anyone in Defendant’s industry,
  15 including Defendant.
  16        52.      In acknowledgement of these significant risks, LDI publishes its
  17 “Privacy Policy to customers and potential customers on its website In that policy,
  18 and as an inducement to customers providing personally identifiable and other
  19 confidential information, LDI has made certain representations and promises
  20 including the following:
  21       “Safeguarding Personally Identifiable Information
  22
                  • We have adopted policies and procedures designed to protect your
  23                personally identifiable information from unauthorized use or disclosure.
  24              • We have implemented physical, electronic, and procedural safeguards to
                    maintain confidentiality and integrity of the personal information in our
  25                possession and to guard against unauthorized access. These include
  26                among other things, procedures for controlling access to your files,

  27  See https://www.idtheftcenter.org/publication/q3-data-breach-2023-analysis/ (last
       7

  28 accessed Oct. 11, 2023).

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   1                 building security programs and information technology security
                     measures such as the use of passwords, firewalls, virus prevention and
   2
                     use detection software.
   3               • We continue to assess new technology as it becomes available and to
   4                 upgrade our physical and electronic security systems as appropriate.

   5         LoanDepot Security Policy

   6         loanDepot takes steps to safeguard your personal and sensitive
             information through industry standard physical, electronic, and
   7         operational policies and practices. All data that is considered highly
   8         confidential data can only be read or written through defined service
   9         access points, the use of which is password-protected. The physical
             security of the data is achieved through a combination of network
  10         firewalls and servers with tested operating systems, all housed in a
  11         secure facility. Access to the system, both physical and electronic, is
  12         controlled and sanctioned by a high-ranking manager.

  13         Sharing Information with Companies That Provide Services for Us
             We share personally identifiable information about you, as required or
  14
             permitted by law, with third parties, such as service providers who
  15         assist us in the in the administration, processing, closing, settlement,
             title or other insuring, servicing, and sale of your loan, or other service
  16
             providers who assist us in fulfilling products and services for you.
  17         These third parties include among others, loan origination system
             providers, lenders, title companies, appraisers, insurance companies,
  18
             real estate companies, underwriting services, notary services,
  19         processing services, printing companies, document providers,
             software and technology providers, fraud detection companies,
  20
             marketing services providers, and purchasers of loans. Our policy is
  21         to require third party service providers to enter into confidentiality
             agreements with us, prohibiting them from using any personally
  22
             identifiable information they obtain for any other purpose other than
  23         those for which they were retained or as required by law.
  24         53.      In light of the known risks, LDI failed to act to implement reasonable
  25 and readily available data security procedures and practices to protect against
  26 disclosure of its customers’ highly confidential information disregarding and in
  27 violation of its representation and legal obligations to its customers and state law.
  28

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   1 D.     Defendant Fails to Comply with FTC Guidelines
   2        54.    The Federal Trade Commission (“FTC”) has promulgated numerous
   3 guides for businesses which highlight the importance of implementing reasonable
   4 data security practices. According to the FTC, the need for data security should be
   5 factored into all business decision-making.
   6        55.    In 2016, the FTC updated its publication, Protecting Personal
   7 Information: A Guide for Business, which established cyber-security guidelines for
   8 businesses. The guidelines note that businesses should protect the personal customer
   9 information that they keep; properly dispose of personal information that is no longer
  10 needed; encrypt information stored on computer networks; understand its network’s
  11 vulnerabilities; and implement policies to correct any security problems. 8 The
  12 guidelines also recommend that businesses use an intrusion detection system to
  13 expose a breach as soon as it occurs; monitor all incoming traffic for activity
  14 indicating someone is attempting to hack the system; watch for large amounts of data
  15 being transmitted from the system; and have a response plan ready in the event of a
  16 breach.9
  17        56.    The FTC further recommends that companies not maintain PII longer
  18 than is needed for authorization of a transaction; limit access to sensitive data;
  19 require complex passwords to be used on networks; use industry-tested methods for
  20 security; monitor for suspicious activity on the network; and verify that third-party
  21 service providers have implemented reasonable security measures.
  22        57.    The FTC has brought enforcement actions against businesses for failing
  23 to adequately and reasonably protect customer data, treating the failure to employ
  24 reasonable and appropriate measures to protect against unauthorized access to
  25
       Protecting Personal Information: A Guide for Business, Federal Trade
       8
  26 Commission (2016). Available at
  27 https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
     personal-information.pdf (last visited Feb. 23, 2023).
  28 9 Id.

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   1 confidential consumer data as an unfair act or practice prohibited by Section 5 of the
   2 Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from
   3 these actions further clarify the measures businesses must take to meet their data
   4 security obligations.
   5         58.   These FTC enforcement actions include actions against mortgage
   6 lenders and partners like Defendant.
   7         59.   Defendant failed to properly implement basic data security practices.
   8         60.   Defendant’s failure to employ reasonable and appropriate measures to
   9 protect against unauthorized access to customers and other impacted individuals’ PII
  10 constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C.
  11 § 45.
  12         61.   Defendant was at all times fully aware of their obligation to protect the
  13 PII. Defendant was also aware of the significant repercussions that would result from
  14 their failure to do so.
  15         62.   Defendant’s failure implement reasonable data security was directly
  16 contrary to the representations made to its customers in its Privacy Policy and
  17 constitute material misrepresentations.
  18 E.      Defendant Fails to Comply with Industry Standards
  19         63.   As shown above, experts studying cyber security routinely identify
  20 mortgage lenders and partners as being particularly vulnerable to cyberattacks
  21 because of the value of the PII which they collect and maintain.
  22         64.   Several best practices have been identified that at a minimum should be
  23 implemented by mortgage lenders like Defendant, including but not limited to:
  24 educating all employees; strong passwords; multi-layer security, including firewalls,
  25 anti-virus, and anti-malware software; encryption, making data unreadable without
  26 a key; multi-factor authentication; backup data; and limiting which employees can
  27 access sensitive data.
  28         65.   Other best cybersecurity practices that are standard in the mortgage

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   1 industry include installing appropriate malware detection software; monitoring and
   2 limiting the network ports; protecting web browsers and email management systems;
   3 setting up network systems such as firewalls, switches and routers; monitoring and
   4 protection of physical security systems; protection against any possible
   5 communication system; training staff regarding critical points.
   6        66.     Defendant failed to meet the minimum standards of any of the following
   7 frameworks: the NIST Cybersecurity Framework Version 1.1 (including without
   8 limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1,
   9 PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8,
  10 and RS.CO-2), and the Center for Internet Security’s Critical Security Controls (CIS
  11 CSC), which are all established standards in reasonable cybersecurity readiness.
  12        67.     The foregoing frameworks are existing and applicable industry
  13 standards in the mortgage industry, and Defendant failed to comply with these
  14 accepted standards, thereby opening the door to the cyber incident and causing the
  15 data breach.
  16        68.     Defendant’s failure to comply was directly contrary to the
  17 representations made to its customers in tits Privacy Policy and constitutes materials
  18 misrepresentations.
  19 F.     Defendant’s Breach
  20        69.     Defendant breached its obligations to Plaintiffs and Class Members
  21 and/or was otherwise negligent and reckless because it failed to properly maintain
  22 and safeguard its computer systems and website’s application flow, and intentionally
  23 misrepresented to them the actions that it would take to protect their confidential
  24 information. Defendant’s unlawful conduct includes, but is not limited to, the
  25 following acts and/or omissions:
  26                a.    failing to maintain an adequate data security system to reduce the
  27                      risk of data breaches and cyber-attacks;
  28                b.    failing to adequately protect PII;

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   1              c.    failing to properly monitor their own data security systems for
   2                    existing intrusions;
   3              d.    failing to ensure that their vendors with access to their computer
   4                    systems and data employed reasonable security procedures;
   5              e.    failing to ensure the confidentiality and integrity of electronic PII
   6                    it created, received, maintained, and/or transmitted;
   7              f.    failing to implement technical policies and procedures for
   8                    electronic information systems that maintain electronic PII to
   9                    allow access only to those persons or software programs that have
  10                    been granted access rights;
  11              g.    failing to implement policies and procedures to prevent, detect,
  12                    contain, and correct security violations;
  13              h.    failing to implement procedures to review records of information
  14                    system activity regularly, such as audit logs, access reports, and
  15                    security incident tracking reports;
  16              i.    failing to protect against reasonably anticipated threats or hazards
  17                    to the security or integrity of electronic PII;
  18              j.    failing to train all members of their workforces effectively on the
  19                    policies and procedures regarding PII;
  20              k.    failing to render the electronic PII it maintained unusable,
  21                    unreadable, or indecipherable to unauthorized individuals;
  22              l.    failing to comply with FTC guidelines for cybersecurity, in
  23                    violation of Section 5 of the FTC Act;
  24              m.    failing to adhere to industry standards for cybersecurity as
  25                    discussed above; and,
  26              n.    otherwise breaching their duties and obligations to protect
  27                    Plaintiffs’ and Class Members’ PII.
  28        70.   Defendant negligently and unlawfully failed to safeguard Plaintiffs’ and

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   1 Class Members’ PII by allowing cyberthieves to access Defendant’s online loan
   2 application flow, which provided unauthorized actors with unsecured and
   3 unencrypted PII.
   4         71.    Accordingly, as outlined below, Plaintiffs and Class Members now face
   5 a present, increased risk of fraud and identity theft. In addition, Plaintiffs and the
   6 Class Members also lost the benefit of the bargain they made with Defendant.
   7 G.      Data Breaches Cause Disruption and Increased Risk of Fraud and
   8         Identity Theft
   9         72.    Cyberattacks and data breaches at mortgage companies like Defendant
  10 are especially problematic because they can negatively impact the overall daily lives
  11 of individuals affected by the attack.
  12         73.    The United States Government Accountability Office released a report
  13 in 2007 regarding data breaches (“GAO Report”) in which it noted that victims of
  14 identity theft will face “substantial costs and time to repair the damage to their good
  15 name and credit record.” 10
  16         74.    That is because any victim of a data breach is exposed to serious
  17 ramifications regardless of the nature of the data. Indeed, the reason criminals steal
  18 personally identifiable information is to monetize it. They do this by selling the spoils
  19 of their cyberattacks on the black market to identity thieves who desire to extort and
  20 harass victims, take over victims’ identities in order to engage in illegal financial
  21 transactions under the victims’ names. Because a person’s identity is akin to a puzzle,
  22 the more accurate pieces of data an identity thief obtains about a person, the easier it
  23 is for the thief to take on the victim’s identity, or otherwise harass or track the victim.
  24 For example, armed with just a name and date of birth, a data thief can utilize a
  25
  26   See U.S. GOV. ACCOUNTING OFFICE, GAO-07-737, Personal Information: Data
       10

  27 Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
     However, the Full Extent Is Unknown (2007)
  28 https://www.gao.gov/new.items/d07737.pdf.

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   1 hacking technique referred to as “social engineering” to obtain even more
   2 information about a victim’s identity, such as a person’s login credentials or Social
   3 Security number. Social engineering is a form of hacking whereby a data thief uses
   4 previously acquired information to manipulate individuals into disclosing additional
   5 confidential or personal information through means such as spam phone calls and
   6 text messages or phishing emails.
   7         75.    The FTC recommends that identity theft victims take several steps to
   8 protect their personal and financial information after a data breach, including
   9 contacting one of the credit bureaus to place a fraud alert (consider an extended fraud
  10 alert that lasts for 7 years if someone steals their identity), reviewing their credit
  11 reports, contacting companies to remove fraudulent charges from their accounts,
  12 placing a credit freeze on their credit, and correcting their credit reports. 11
  13         76.    Identity thieves use stolen personal information such as Social Security
  14 numbers for a variety of crimes, including credit card fraud, phone or utilities fraud,
  15 and bank/finance fraud.
  16         77.    Identity thieves can also use Social Security numbers to obtain a
  17 driver’s license or official identification card in the victim’s name but with the thief’s
  18 picture; use the victim’s name and Social Security number to obtain government
  19 benefits; or file a fraudulent tax return using the victim’s information. In addition,
  20 identity thieves may obtain a job using the victim’s Social Security number, rent a
  21 house or receive medical services in the victim’s name, and may even give the
  22 victim’s personal information to police during an arrest resulting in an arrest warrant
  23 being issued in the victim’s name.
  24         78.    Moreover, theft of PII is also gravely serious because PII is an
  25
  26
  27
       See IdentityTheft.gov, FEDERAL TRADE COMMISSION,
       11
  28 https://www.identitytheft.gov/Steps (last visited Feb. 23, 2023).

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   1 extremely valuable property right.12
   2        79.    Its value is axiomatic, considering the value of “big data” in corporate
   3 America and the fact that the consequences of cyber thefts include heavy prison
   4 sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII
   5 has considerable market value.
   6        80.    It must also be noted there may be a substantial time lag – measured in
   7 years -- between when harm occurs and when it is discovered, and also between
   8 when PII is stolen and when it is used.
   9        81.    According to the U.S. Government Accountability Office, which
  10 conducted a study regarding data breaches:
  11               [L]aw enforcement officials told us that in some cases, stolen
  12               data may be held for up to a year or more before being used to
  13               commit identity theft. Further, once stolen data have been sold
  14               or posted on the Web, fraudulent use of that information may
  15               continue for years. As a result, studies that attempt to measure
  16               the harm resulting from data breaches cannot necessarily rule
  17               out all future harm.13
  18        82.    PII is such a valuable commodity to identity-thieves that once the
  19 information has been compromised, criminals often trade the information on the
  20 “cyber black-market” for years.
  21        83.    There is a strong probability that entire batches of stolen information
  22 have been dumped on the black market and are yet to be dumped on the black market,
  23 meaning Plaintiffs and Class Members are at an increased risk of fraud and identity
  24
  25    See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of
       12

     Personally Identifiable Information (“PII”) Equals the “Value" of Financial Assets,
  26 15 RICH. J.L. & TECH. 11, at *3-4 (2009) (“PII, which companies obtain at little cost,
  27 has quantifiable value that is rapidly reaching a level comparable to the value of
     traditional financial assets.”) (citations omitted).
  28 13 GAO Report, at p. 21.

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   1 theft for many years into the future.
   2         84.   Thus, Plaintiffs and Class Members must vigilantly monitor their
   3 financial and medical accounts for many years to come.
   4         85.   PII can sell for as much as $363 per record according to the Infosec
   5 Institute. 14 PII is particularly valuable because criminals can use it to target victims
   6 with frauds and scams. Once PII is stolen, fraudulent use of that information and
   7 damage to victims may continue for many years.
   8         86.   For example, the Social Security Administration has warned that
   9 identity thieves can use an individual’s Social Security number to apply for
  10 additional credit lines. 15 Such fraud may go undetected until debt collection calls
  11 commence months, or even years, later. Stolen Social Security Numbers also make
  12 it possible for thieves to file fraudulent tax returns, file for unemployment benefits,
  13 or apply for a job using a false identity.16 Each of these fraudulent activities is
  14 difficult to detect. An individual may not know that their Social Security Number
  15 was used to file for unemployment benefits until law enforcement notifies the
  16 individual’s employer of the suspected fraud. Fraudulent tax returns are typically
  17 discovered only when an individual’s authentic tax return is rejected.
  18         87.   Moreover, it is not an easy task to change or cancel a stolen Social
  19 Security number:
  20         An individual cannot obtain a new Social Security number without significant
  21         paperwork and evidence of actual misuse. Even then, a new Social Security
  22         number may not be effective, as “[t]he credit bureaus and banks are able to
  23
  24   14
          See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, INFOSEC (July
  25   27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-
       data-in-the-black-market/.
  26   15
            Identity Theft and Your Social Security Number, SOCIAL SECURITY
  27   ADMINISTRATION (2018) at 1, https://www.ssa.gov/pubs/EN-05-10064.pdf (last
       visited Feb. 23, 2023).
  28   16
          Id at 4.
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   1         link the new number very quickly to the old number, so all of that old bad
   2         information is quickly inherited into the new Social Security number.” 17
   3
   4         88.    This data, as one would expect, demands a much higher price on the
   5 black market. Martin Walter, senior director at cybersecurity firm RedSeal,
   6 explained, “[c]ompared to credit card information, personally identifiable
   7 information and Social Security Numbers are worth more than 10x on the black
   8 market.”18
   9         89.    Because of the value of its collected and stored data, the mortgage
  10 industry has experienced disproportionally higher numbers of data theft events than
  11 other industries.
  12         90.    For this reason, Defendant knew or should have known about these
  13 dangers and strengthened its data and email handling systems accordingly.
  14 Defendant was put on notice of the substantial and foreseeable risk of harm from a
  15 data breach, yet Defendant failed to properly prepare for that risk.
  16         91.    Because a person’s identity is akin to a puzzle, the more accurate pieces
  17 of data an identity thief obtains about a person, the easier it is for the thief to take on
  18 the victim’s identity, or otherwise harass or track the victim. For example, armed
  19 with just a name and date of birth, a data thief can utilize a hacking technique referred
  20 to as “social engineering” to obtain even more information about a victim’s identity,
  21 such as a person’s login credentials or Social Security number. Social engineering is
  22 a form of hacking whereby a data thief uses previously acquired information to
  23
  24   17
          Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce
  25   Back, NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-
       by-anthem-s-hackers-has-millions-worrying-about-identity-theft.
  26   18
          Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
  27   Credit Card Numbers, COMPUTER WORLD (Feb. 6, 2015),
       http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-
  28   for-10x-price-of-stolen-credit-card-numbers.html.
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   1 manipulate individuals into disclosing additional confidential or personal
   2 information through means such as spam phone calls and text messages or phishing
   3 emails.
   4           92.    In fact, as technology advances, computer programs may scan the
   5 Internet with a wider scope to create a mosaic of information that may be used to
   6 link compromised information to an individual in ways that were not previously
   7 possible. This is known as the “mosaic effect.”
   8           93.    One such example of criminals piecing together bits and pieces of
   9 compromised PII for profit is the development of “Fullz” packages. 19
  10           94.    With “Fullz” packages, cyber-criminals can cross-reference two
  11 sources of PII to marry unregulated data available elsewhere to criminally stolen data
  12 with an astonishingly complete scope and degree of accuracy in order to assemble
  13 complete dossiers on individuals.
  14           95.    The development of “Fullz” packages means here that the stolen PII
  15 from the Data Breach can easily be used to link and identify it to Plaintiffs’ and Class
  16 Members’ phone numbers, email addresses, and other unregulated sources and
  17
       19
            “Fullz” is fraudster speak for data that includes the information of the victim,
  18
       including, but not limited to, the name, address, credit card information, social
  19   security number, date of birth, and more. As a rule of thumb, the more information
  20   you have on a victim, the more money that can be made off of those credentials. Fullz
       are usually pricier than standard credit card credentials, commanding up to $100 per
  21   record (or more) on the dark web. Fullz can be cashed out (turning credentials into
  22   money) in various ways, including performing bank transactions over the phone with
       the required authentication details in-hand. Even “dead Fullz,” which are Fullz
  23   credentials associated with credit cards that are no longer valid, can still be used for
  24   numerous purposes, including tax refund scams, ordering credit cards on behalf of the
       victim, or opening a “mule account” (an account that will accept a fraudulent money
  25   transfer from a compromised account) without the victim’s knowledge. See, e.g.,
  26   Brian Krebs, Medical Records for Sale in Underground Stolen From Texas Life
       Insurance       Firm,       Krebs      on      Security      (Sep.      18,       2014),
  27   https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-
  28   stolen-from-texas-life-insurance- finn/

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   1 identifiers. In other words, even if certain information such as emails, phone
   2 numbers, or credit card numbers may not be included in the PII that was exfiltrated
   3 in the Data Breach, criminals may still easily create a Fullz package and sell it at a
   4 higher price to unscrupulous operators and criminals (such as illegal and scam
   5 telemarketers) over and over.
   6         96.      The existence and prevalence of “Fullz” packages means that the PII
   7 stolen from the data breach can easily be linked to the unregulated data (like phone
   8 numbers and emails) of Plaintiffs and the other Class Members.
   9         97.      Thus, even if certain information (such as insurance information) was
  10 not stolen in the data breach, criminals can still easily create a comprehensive “Fullz”
  11 package. Then, this comprehensive dossier can be sold—and then resold in
  12 perpetuity—to crooked operators and other criminals (like illegal and scam
  13 telemarketers).
  14 H.      Data Breaches Are Preventable.
  15         98.      As explained by the Federal Bureau of Investigation, “[p]revention is
  16 the most effective defense against ransomware and it is critical to take precautions
  17 for protection.”20
  18         99.      To prevent and detect cyber-attacks and/or ransomware attacks
  19 Defendant could and should have implemented, as recommended by the United
  20 States Government, the following measures:
  21               ● Implement an awareness and training program. Because end users are
  22                  targets, employees and individuals should be aware of the threat of
  23                  ransomware and how it is delivered.
  24               ● Enable strong spam filters to prevent phishing emails from reaching the
  25                  end users and authenticate inbound email using technologies like
  26
  27    See How to Protect Your Networks from RANSOMWARE, at 3, available at
       20

     https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-
  28 cisos.pdf/view

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   1              Sender Policy Framework (SPF), Domain Message Authentication
   2              Reporting and Conformance (DMARC), and DomainKeys Identified
   3              Mail (DKIM) to prevent email spoofing.
   4           ● Scan all incoming and outgoing emails to detect threats and filter
   5              executable files from reaching end users.
   6           ● Configure firewalls to block access to known malicious IP addresses.
   7           ● Patch operating systems, software, and firmware on devices. Consider
   8              using a centralized patch management system.
   9           ● Set anti-virus and anti-malware programs to conduct regular scans
  10              automatically.
  11           ● Manage the use of privileged accounts based on the principle of least
  12              privilege: no users should be assigned administrative access unless
  13              absolutely needed; and those with a need for administrator accounts
  14              should only use them when necessary.
  15           ● Configure access controls—including file, directory, and network share
  16              permissions—with least privilege in mind. If a user only needs to read
  17              specific files, the user should not have written access to those files,
  18              directories, or shares.
  19           ● Disable macro scripts from office files transmitted via email. Consider
  20              using Office Viewer software to open Microsoft Office files transmitted
  21              via email instead of full office suite applications.
  22           ● Implement Software Restriction Policies (SRP) or other controls to
  23              prevent programs from executing from common ransomware locations,
  24              such as temporary folders supporting popular Internet browsers or
  25              compression/decompression            programs,         including   the
  26              AppData/LocalAppData folder.
  27           ● Consider disabling Remote Desktop protocol (RDP) if it is not being
  28              used.

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   1                 ● Use application whitelisting, which only allows systems to execute
   2                      programs known and permitted by security policy.
   3                 ● Execute operating system environments or specific programs in a
   4                      virtualized environment.
   5                 ● Categorize data based on organizational value and implement physical
   6                      and logical separation of networks and data for different organizational
   7                      units.21
   8            100. To prevent and detect cyber-attacks or ransomware attacks, Defendant
   9 could and should have implemented, as recommended by the Microsoft Threat
  10 Protection Intelligence Team, the following measures:
  11            Secure Internet-Facing Assets
  12            -         Apply latest security updates
  13            -         Use threat and vulnerability management
  14            -         Perform regular audit; remove privileged credentials;
  15            Thoroughly investigate and remediate alerts
  16             -        Prioritize and treat commodity malware infections as potential full
  17                      compromise;
  18            Include IT Pros in security discussions
  19             -        Ensure collaboration among [security operations], [security admins], and
  20                      [information technology] admins to configure servers and other
  21                      endpoints securely;
  22            Build credential hygiene
  23             -        Use [multifactor authentication] or [network level authentication] and
  24                      use strong, randomized, just-in-time local admin passwords;
  25            Apply principle of least-privilege
  26            -         Monitor for adversarial activities
  27
  28   21
            Id. at 3-4.
                                                       26
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   1        -      Hunt for brute force attempts
   2        -      Monitor for cleanup of Event Logs
   3        -      Analyze logon events;
   4        Harden infrastructure
   5        -      Use Windows Defender Firewall
   6        -      Enable tamper protection
   7        -      Enable cloud-delivered protection
   8        -      Turn on attack surface reduction rules and [Antimalware Scan Interface]
   9               for Office[Visual Basic for Applications].22
  10        101. Given that Defendant was storing the sensitive PII of its current and
  11 former customers and applicants, Defendant could and should have implemented all
  12 of the above measures to prevent and detect cyberattacks.
  13 I.     Plaintiffs’ and Class Members’ Damages
  14        102. To date, Defendant has done nothing to provide Plaintiffs and the Class
  15 Members with relief for the damages they have suffered as a result of the Data
  16 Breach.
  17        103. Defendant LDI has merely offered Plaintiffs and Class Members
  18 complimentary fraud and identity monitoring services for up to two years, but this
  19 does nothing to compensate them for damages incurred and time spent dealing with
  20 the Data Breach.
  21        104. Plaintiffs and Class Members have been damaged by the compromise
  22 of their PII in the Data Breach.
  23        105. Plaintiffs and Class Members’ full names, addresses, tax identification
  24 numbers, and Social Security numbers were compromised in the Data Breach and
  25 are now in the hands of the cybercriminals who accessed Defendant’s software
  26
  27   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
       22

     available at: https://www.microsoft.com/security/blog/2020/03/05/human-operated-
  28 ransomware-attacks-a-preventable-disaster/

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   1 maintaining PII. This PII was acquired by some unauthorized, unidentified third-
   2 party threat actor.
   3         106. Since being notified of the Data Breach, Plaintiffs has spent time
   4 dealing with the impact of the Data Breach, valuable time Plaintiffs otherwise would
   5 have spent on other activities, including but not limited to work and/or recreation.
   6         107. Due to the Data Breach, Plaintiffs anticipates spending considerable
   7 time and money on an ongoing basis to try to mitigate and address harms caused by
   8 the Data Breach. This includes changing passwords, cancelling credit and debit
   9 cards, and monitoring their accounts for fraudulent activity.
  10         108. Plaintiffs’ PII was compromised as a direct and proximate result of the
  11 Data Breach.
  12         109. As a direct and proximate result of Defendant’s conduct, Plaintiffs and
  13 Class Members have been placed at a present, imminent, immediate, and continuing
  14 increased risk of harm from fraud and identity theft.
  15         110. As a direct and proximate result of Defendant’s conduct, Plaintiffs and
  16 Class Members have been forced to expend time dealing with the effects of the Data
  17 Breach.
  18         111. Plaintiffs and Class Members face substantial risk of out-of-pocket
  19 fraud losses such as loans opened in their names, medical services billed in their
  20 names, tax return fraud, utility bills opened in their names, credit card fraud, and
  21 similar identity theft.
  22         112. Plaintiffs and Class Members face substantial risk of being targeted for
  23 future phishing, data intrusion, and other illegal schemes based on their PII as
  24 potential fraudsters could use that information to more effectively target such
  25 schemes to Plaintiffs and Class Members.
  26         113. Plaintiffs and Class Members may also incur out-of-pocket costs for
  27 protective measures such as credit monitoring fees, credit report fees, credit freeze
  28 fees, and similar costs directly or indirectly related to the Data Breach.

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   1        114. Plaintiffs and Class Members also suffered a loss of value of their PII
   2 when it was acquired by cyber thieves in the Data Breach. Numerous courts have
   3 recognized the propriety of loss of value damages in related cases.
   4        115. Plaintiffs and Class Members were also damaged via benefit-of-the-
   5 bargain damages. Plaintiffs and Class Members overpaid for a service that was
   6 intended to be accompanied by adequate data security that complied with industry
   7 standards but was not. Part of the price Plaintiffs and Class Members paid to
   8 Defendant was intended to be used by Defendant to fund adequate security of
   9 Defendant’s systems and Plaintiffs’ and Class Members’ PII. Thus, Plaintiffs and
  10 Class Members did not get what they paid for and agreed to.
  11        116. Plaintiffs and Class Members have spent and will continue to spend
  12 significant amounts of time to monitor their financial accounts and sensitive
  13 information for misuse.
  14        117. Plaintiffs and Class Members have suffered or will suffer actual injury
  15 as a direct result of the Data Breach. Many victims suffered ascertainable losses in
  16 the form of out-of-pocket expenses and the value of their time reasonably incurred
  17 to remedy or mitigate the effects of the Data Breach relating to:
  18               a.    reviewing and monitoring sensitive accounts and finding
  19                     fraudulent insurance claims, loans, and/or government benefits
  20                     claims;
  21               b.    purchasing credit monitoring and identity theft prevention;
  22               c.    placing “freezes” and “alerts” with reporting agencies;
  23               d.    spending time on the phone with or at financial institutions,
  24                     healthcare providers, and/or government agencies to dispute
  25                     unauthorized and fraudulent activity in their name;
  26               e.    contacting financial institutions and closing or modifying
  27                     financial accounts; and
  28               f.    closely reviewing and monitoring Social Security numbers,

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   1                      medical insurance accounts, bank accounts, and credit reports for
   2                      unauthorized activity for years to come.
   3        118. Moreover, Plaintiffs and Class Members have an interest in ensuring
   4 that their PII, which is believed to remain in the possession of Defendant, is protected
   5 from further breaches by the implementation of adequate security measures and
   6 safeguards, including but not limited to, making sure that the storage of data or
   7 documents containing PII is not accessible online and that access to such data is
   8 password protected.
   9        119. Further, as a result of Defendant’s conduct, Plaintiffs and Class
  10 Members are forced to live with the anxiety that their PII may be disclosed to the
  11 entire world, thereby subjecting them to embarrassment and depriving them of any
  12 right to privacy whatsoever.
  13        120. As a direct and proximate result of Defendant’s actions and inactions,
  14 Plaintiffs and Class Members have suffered anxiety, emotional distress, and loss of
  15 privacy, and are at an increased risk of future harm.
  16 J.     Plaintiffs’ Experiences
  17                                     Plaintiff Schmidt
  18        121. Plaintiff Schmidt applied for a loan from Defendant in or about
  19 November 2023.
  20        122. As a condition of submitting his loan application, Plaintiff was required
  21 to provide his sensitive PII to Defendant, including his name, date of birth, Social
  22 Security number, and other sensitive information.
  23        123. Plaintiff Schmidt is very careful about sharing his sensitive PII. Plaintiff
  24 Schmidt has never knowingly transmitted unencrypted sensitive PII over the internet
  25 or any other unsecured source.
  26        124. Plaintiff Schmidt first learned of the Data Breach after receiving a data
  27 breach notification letter dated July 31, 2023, from LDI, notifying him that
  28 Defendant suffered a data breach a month prior and that his PII had been improperly

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   1 accessed and acquired by unauthorized third parties while in possession of
   2 Defendant, including his name, date of birth, address, and Social Security number.
   3         125. As a result of the Data Breach, Plaintiff Schmidt made reasonable
   4 efforts to mitigate the impact of the Data Breach after receiving the data breach
   5 notification letter, including but not limited to researching and verifying the
   6 legitimacy of the Data Breach and contacting Defendant to obtain more details about
   7 its occurrence. Plaintiff Schmidt has spent multiple hours and will continue to spend
   8 valuable time for the remainder of his life, that he otherwise would have spent on
   9 other activities, including but not limited to work and/or recreation.
  10         126. Plaintiff Schmidt suffered actual injury from having his PII
  11 compromised as a result of the Data Breach including, but not limited to (i) invasion
  12 of privacy; (ii) theft of his PII; (iii) lost or diminished value of PII; (iv) lost time and
  13 opportunity costs associated with attempting to mitigate the actual consequences of
  14 the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs
  15 associated with attempting to mitigate the actual consequences of the Data Breach;
  16 (vii) statutory damages; (viii) nominal damages; and (ix) the continued and certainly
  17 increased risk to his PII, which: (a) remains unencrypted and available for
  18 unauthorized third parties to access and abuse; and (b) remains backed up in
  19 Defendant’s possession and is subject to further unauthorized disclosures so long as
  20 Defendant fails to undertake appropriate and adequate measures to protect the PII.
  21         127. Plaintiff further suffered actual injury in the form of his PII being
  22 disseminate don the dark web, according to Verizon, which, upon information and
  23 belief, was caused by the Data Breach.
  24         128. As a result of the Data Breach, Plaintiff Schmidt has also suffered
  25 emotional distress as a result of the release of his PII, which he believed would be
  26 protected from unauthorized access and disclosure, including anxiety about
  27 unauthorized parties viewing, selling, and/or using his PII for purposes of identity
  28 theft and fraud. Plaintiff Schmidt is very concerned about identity theft and fraud, as

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   1 well as the consequences of such identity theft and fraud resulting from the Data
   2 Breach.
   3         129. As a result of the Data Breach, Plaintiff Schmidt anticipates spending
   4 considerable time and money on an ongoing basis to try to mitigate and address
   5 harms caused by the Data Breach. In addition, Plaintiff will continue to be at present,
   6 imminent, and continued increased risk of identity theft and fraud for the remainder
   7 of his life.
   8                                     Plaintiff Jantzen
   9         130. Plaintiff Jantzen is a current customer at Defendant and has been since
  10 approximately 2021.
  11         131. As a condition of receiving services at Defendant, Plaintiff was required
  12 to provide his sensitive PII to Defendant, including his name, date of birth, Social
  13 Security number, and other sensitive information.
  14         132. Plaintiff Jantzen is very careful about sharing his sensitive PII. Plaintiff
  15 Jantzen has never knowingly transmitted unencrypted sensitive PII over the internet
  16 or any other unsecured source.
  17         133. Plaintiff Jantzen first learned of the Data Breach after receiving a data
  18 breach notification letter dated July 31, 2023, from LDI, notifying him that
  19 Defendant suffered a data breach a month prior and that his PII had been improperly
  20 accessed and acquired by unauthorized third parties while in possession of
  21 Defendant.
  22         134. As a result of the Data Breach, Plaintiff Jantzen made reasonable efforts
  23 to mitigate the impact of the Data Breach after receiving the data breach notification
  24 letter, including but not limited to: monitoring his financial accounts for any
  25 indication of fraudulent activity, which may take years to detect. Plaintiff Jantzen
  26 has spent multiple hours and will continue to spend valuable time for the remainder
  27 of his life, that he otherwise would have spent on other activities, including but not
  28 limited to work and/or recreation.

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   1         135. Plaintiff Jantzen suffered actual injury from having his PII
   2 compromised as a result of the Data Breach including, but not limited to (i) invasion
   3 of privacy; (ii) theft of his PII; (iii) lost or diminished value of PII; (iv) lost time and
   4 opportunity costs associated with attempting to mitigate the actual consequences of
   5 the Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs
   6 associated with attempting to mitigate the actual consequences of the Data Breach;
   7 (vii) statutory damages; (viii) nominal damages; and (ix) the continued and certainly
   8 increased risk to his PII, which: (a) remains unencrypted and available for
   9 unauthorized third parties to access and abuse; and (b) remains backed up in
  10 Defendant’s possession and is subject to further unauthorized disclosures so long as
  11 Defendant fails to undertake appropriate and adequate measures to protect the PII.
  12         136. As a result of the Data Breach, Plaintiff Jantzen has also suffered
  13 emotional distress as a result of the release of his PII, which he believed would be
  14 protected from unauthorized access and disclosure, including anxiety about
  15 unauthorized parties viewing, selling, and/or using his PII for purposes of identity
  16 theft and fraud. Plaintiff Jantzen is very concerned about identity theft and fraud, as
  17 well as the consequences of such identity theft and fraud resulting from the Data
  18 Breach.
  19         137. As a result of the Data Breach, Plaintiff Jantzen anticipates spending
  20 considerable time and money on an ongoing basis to try to mitigate and address
  21 harms caused by the Data Breach. In addition, Plaintiff will continue to be at present,
  22 imminent, and continued increased risk of identity theft and fraud for the remainder
  23 of his life.
  24                           CLASS ACTION ALLEGATIONS
  25         138. Plaintiffs bring this action on behalf of themselves and on behalf of all
  26 other persons similarly situated (“the Class”).
  27         139. Plaintiffs propose the following Class and Subclass definitions, subject
  28 to amendment as appropriate:

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   1               Nationwide Class
   2               All persons in the United States identified by Defendant (or its
   3               agents or affiliates) as being among those individuals impacted
   4               by the Data Breach, including all who were sent a notice of the
   5               Data Breach (the “Class”).
   6               Florida Subclass
   7               All persons in the state of Florida identified by Defendant (or its
   8               agents or affiliates) as being among those individuals impacted
   9               by the Data Breach, including all who were sent a notice of the
  10               Data Breach (the “Florida Subclass”).
  11        140. Excluded from the Classes are Defendant’s officers, directors, and
  12 employees; any entity in which Defendant has a controlling interest; and the
  13 affiliates, legal representatives, attorneys, successors, heirs, and assigns of
  14 Defendant. Excluded also from the Class are members of the judiciary to whom this
  15 case is assigned, their families and Members of their staff.
  16        141. Plaintiffs reserve the right to amend or modify the Class and/or Florida
  17 Subclass definitions as this case progresses.
  18        142. Numerosity. The Members of the Class are so numerous that joinder of
  19 all of them is impracticable. While the exact number of Class Members is unknown
  20 to Plaintiffs at this time, based on information and belief, the Class consists of
  21 thousands of individuals whose sensitive data was compromised in the Data Breach.
  22        143. Commonality. There are questions of law and fact common to the Class,
  23 which predominate over any questions affecting only individual Class Members.
  24 These common questions of law and fact include, without limitation:
  25               a.    if Defendant unlawfully used, maintained, lost, or disclosed
  26                     Plaintiffs’ and Class Members’ PII;
  27               b.    if Defendant failed to implement and maintain reasonable
  28                     security procedures and practices appropriate to the nature and

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   1                     scope of the information compromised in the Data Breach;
   2              c.     if Defendant’s data security systems prior to and during the Data
   3                     Breach complied with applicable data security laws and
   4                     regulations;
   5              d.     if Defendant’s data security systems prior to and during the Data
   6                     Breach were consistent with industry standards;
   7              e.     if Defendant owed a duty to Class Members to safeguard their
   8                     PII;
   9              f.     if Defendant breached their duty to Class Members to safeguard
  10                     their PII;
  11              g.     if Defendant knew or should have known that their data security
  12                     systems and monitoring processes were deficient;
  13              h.     if Defendant should have discovered the Data Breach sooner;
  14              i.     if Plaintiffs and Class Members suffered legally cognizable
  15                     damages as a result of Defendant’s misconduct;
  16              j.     if Defendant’s conduct was negligent;
  17              k.     if Defendant’s breach implied contracts with Plaintiffs and Class
  18                     Members;
  19              l.     if Defendant were unjustly enriched by unlawfully retaining a
  20                     benefit conferred upon them by Plaintiffs and Class Members;
  21              m.     if Defendant failed to provide notice of the Data Breach in a
  22                     timely manner, and;
  23              n.     if Plaintiffs and Class Members are entitled to damages, civil
  24                     penalties, punitive damages, treble damages, and/or injunctive
  25                     relief.
  26        144. Typicality. Plaintiffs’ claims are typical of those of other Class
  27 Members because Plaintiffs’ information, like that of every other Class Member, was
  28 compromised in the Data Breach.

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   1         145. Adequacy of Representation. Plaintiffs will fairly and adequately
   2 represent and protect the interests of the Members of the Class. Plaintiffs’ Counsel
   3 are competent and experienced in litigating class actions.
   4         146. Predominance. Defendant has engaged in a common course of conduct
   5 toward Plaintiffs and Class Members, in that all the Plaintiffs’ and Class Members’
   6 data was stored on the same computer system and unlawfully accessed in the same
   7 way. The common issues arising from Defendant’s conduct affecting Class Members
   8 set out above predominate over any individualized issues. Adjudication of these
   9 common issues in a single action has important and desirable advantages of judicial
  10 economy.
  11         147. Superiority. A class action is superior to other available methods for the
  12 fair and efficient adjudication of the controversy. Class treatment of common
  13 questions of law and fact is superior to multiple individual actions or piecemeal
  14 litigation. Absent a class action, most Class Members would likely find that the cost
  15 of litigating their individual claims is prohibitively high and would therefore have
  16 no effective remedy. The prosecution of separate actions by individual Class
  17 Members would create a risk of inconsistent or varying adjudications with respect to
  18 individual Class Members, which would establish incompatible standards of conduct
  19 for Defendant. In contrast, the conduct of this action as a Class action presents far
  20 fewer management difficulties, conserves judicial resources and the parties’
  21 resources, and protects the rights of each Class Member.
  22         148. Defendant has acted on grounds that apply generally to the Class as a
  23 whole, so that Class certification, injunctive relief, and corresponding declaratory
  24 relief are appropriate on a Class-wide basis.
  25         149. Likewise, particular issues under Rule 42(d)(l) are appropriate for
  26 certification because such claims present only particular, common issues, the
  27 resolution of which would advance the disposition of this matter and the parties'
  28 interests therein. Such particular issues include, but are not limited to:

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   1               a.     if Defendant failed to timely notify the public of the Data Breach;
   2               b.     if Defendant owed a legal duty to Plaintiffs and the Class to
   3                      exercise due care in collecting, storing, and safeguarding their
   4                      PII;
   5               c.     if Defendant’s security measures to protect their data systems
   6                      were reasonable in light of best practices recommended by data
   7                      security experts;
   8               d.     if Defendant’s failure to institute adequate protective security
   9                      measures amounted to negligence;
  10               e.     if Defendant failed to take commercially reasonable steps to
  11                      safeguard consumer PII; and
  12               f.     if adherence to FTC data security recommendations, and
  13                      measures recommended by data security experts would have
  14                      reasonably prevented the Data Breach.
  15         150. Finally, all members of the proposed Class are readily ascertainable.
  16 Defendant has access to Class Members' names and addresses affected by the Data
  17 Breach. Class Members have already been preliminarily identified and sent notice of
  18 the Data Breach by Defendant LDI.
  19                             FIRST CAUSE OF ACTION
                                          Negligence
  20
                             (On Behalf of Plaintiffs and the Class)
  21
  22         151. Plaintiffs re-allege and incorporate by reference herein all allegations
  23 contained in the foregoing paragraphs.
  24       152. Plaintiffs and the Class entrusted Defendant with their PII on the
  25 premise and with the understanding that Defendant would safeguard their
  26 information, use their PII for business purposes only, and/or not disclose their PII to
  27 unauthorized third parties.
  28       153. Defendant has full knowledge of the sensitivity of the PII and the types

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   1 of harm that Plaintiffs and the Class could and would suffer if the PII were
   2 wrongfully disclosed.
   3        154. By collecting and storing this data in their computer system and
   4 network, and sharing it and using it for commercial gain, Defendant owed a duty of
   5 care to use reasonable means to secure and safeguard their computer system—and
   6 Class Members’ PII held within it—to prevent disclosure of the information, and to
   7 safeguard the information from theft. Defendant’s duty included a responsibility to
   8 implement processes by which it could detect a breach of their security systems in a
   9 reasonably expeditious period of time and to give prompt notice to those affected in
  10 the case of a data breach.
  11        155. Defendant owed a duty of care to Plaintiffs and Class Members to
  12 provide data security consistent with industry standards and other requirements
  13 discussed herein, and to ensure that their systems and networks, and the personnel
  14 responsible for them, adequately protected the PII.
  15        156. Defendant’s duty of care to use reasonable security measures arose as a
  16 result of the special relationship that existed between Defendant and individuals who
  17 entrusted them with PII, which is recognized by laws and regulations, as well as
  18 common law. Defendant was in a superior position to ensure that their systems were
  19 sufficient to protect against the foreseeable risk of harm to Class Members from a
  20 data breach.
  21        157. Defendant’s duty to use reasonable security measures required
  22 Defendant to reasonably protect confidential data from any intentional or
  23 unintentional use or disclosure.
  24        158. In addition, Defendant had a duty to employ reasonable security
  25 measures under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,
  26 which prohibits “unfair . . . practices in or affecting commerce,” including, as
  27 interpreted and enforced by the FTC, the unfair practice of failing to use reasonable
  28 measures to protect confidential data.

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   1         159. Defendant’s duty to use reasonable care in protecting confidential data
   2 arose not only as a result of the statutes and regulations described above, but also
   3 because Defendant are bound by industry standards to protect confidential PII.
   4         160. Defendant breached its duties, and thus was negligent, by failing to use
   5 reasonable measures to protect Class Members’ PII. The specific negligent acts and
   6 omissions committed by Defendant include, but are not limited to, the following:
   7               a.     failing to adopt, implement, and maintain adequate security
   8                      measures to safeguard Class Members’ PII;
   9               b.     failing to adequately monitor the security of their networks and
  10                      systems;
  11               d.     failing to have in place mitigation policies and procedures;
  12               e.     allowing unauthorized access to Class Members’ PII;
  13               f.     failing to detect in a timely manner that Class Members’ PII had
  14                      been compromised; and
  15               g.     failing to timely notify Class Members about the Data Breach so
  16                      that they could take appropriate steps to mitigate the potential for
  17                      identity theft and other damages.
  18         161. Defendant owed to Plaintiffs and Class Members a duty to notify them
  19 within a reasonable timeframe of any breach to the security of their PII. Defendant
  20 also owed a duty to timely and accurately disclose to Plaintiffs and Class Members
  21 the scope, nature, and occurrence of the data breach. This duty is required and
  22 necessary for Plaintiffs and Class Members to take appropriate measures to protect
  23 their PII, to be vigilant in the face of an increased risk of harm, and to take other
  24 necessary steps to mitigate the harm caused by the data breach.
  25         162. Plaintiffs and Class Members are also entitled to injunctive relief
  26 requiring Defendant to, e.g., (i) strengthen their data security systems and monitoring
  27 procedures; (ii) submit to future annual audits of those systems and monitoring
  28 procedures; and (iii) continue to provide adequate credit monitoring to all Class

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   1 Members.
   2        163. Defendant breached its duties to Plaintiffs and Class Members by
   3 failing to provide fair, reasonable, or adequate computer systems and data security
   4 practices to safeguard Plaintiffs’ and Class Members' PII.
   5        164. Defendant owed these duties to Plaintiffs and Class Members because
   6 they are members of a well-defined, foreseeable, and probable class of individuals
   7 whom Defendant knew or should have known would suffer injury-in-fact from
   8 Defendant’s inadequate security protocols. Defendant actively sought and obtained
   9 Plaintiffs’ and Class Members’ PII.
  10        165. The risk that unauthorized persons would attempt to gain access to
  11 the PII and misuse it was foreseeable. Given that Defendant holds vast amounts of
  12 PII, it was inevitable that unauthorized individuals would attempt to access
  13 Defendant’s databases containing the PII—whether by malware or otherwise.
  14        166. PII is highly valuable, and Defendant knew, or should have known, the
  15 risk in obtaining, using, handling, emailing, and storing the PII of Plaintiffs and
  16 Class Members and the importance of exercising reasonable care in handling it.
  17        167. Defendant breached its duties by failing to exercise reasonable care in
  18 supervising their agents, contractors, vendors, and suppliers, and in handling
  19 and securing the PII of Plaintiffs and Class Members—which actually and
  20 proximately caused the Data Breach and injured Plaintiffs and Class Members.
  21        168. Defendant further breached its duties by failing to provide reasonably
  22 timely notice of the data breach to Plaintiffs and Class Members, which actually
  23 and proximately caused and exacerbated the harm from the data breach and Plaintiffs
  24 and Class Members’ injuries-in-fact. As a direct and traceable result of Defendant’s
  25 negligence and/or negligent supervision, Plaintiffs and Class Members have suffered
  26 or will suffer damages, including monetary damages, increased risk of future harm,
  27 embarrassment, humiliation, frustration, and emotional distress.
  28        169. Defendant’s breach of its common-law duties to exercise reasonable

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   1 care and their failures and negligence actually and proximately caused Plaintiffs
   2 and Class Members actual, tangible, injury-in-fact and damages, including,
   3 without limitation, the theft of their PII by criminals, improper disclosure of their
   4 PII, lost benefit of their bargain, lost value of their PII, and lost time and money
   5 incurred to mitigate and remediate the effects of the data breach that resulted
   6 from and were caused by Defendant’s negligence, which injury-in-fact and
   7 damages are ongoing, imminent, immediate, and which they continue to face.
   8                           SECOND CAUSE OF ACTION
                                      Invasion of Privacy
   9
                           (On behalf of the Plaintiffs and the Class)
  10
  11         170. Plaintiffs re-allege and incorporate by reference herein all of the
  12 allegations contained in the foregoing paragraphs.
  13         171. Plaintiffs and Class Members had a legitimate expectation of privacy
  14 regarding their PII and were accordingly entitled to the protection of this information
  15 against disclosure to unauthorized third parties.
  16         172. Defendant owed a duty to Plaintiffs and Class Member to keep their PII
  17 confidential.
  18         173. The unauthorized disclosure and/or acquisition (i.e., theft) by a third
  19 party of Plaintiffs’ and Class Members’ PII is highly offensive to a reasonable person.
  20         174. Defendant’s reckless and negligent failure to protect Plaintiffs’ and
  21 Class Members’ PII constitutes an intentional interference with Plaintiffs’ and the
  22 Class Members’ interest in solitude or seclusion, either as to their person or as to
  23 their private affairs or concerns, of a kind that would be highly offensive to a
  24 reasonable person.
  25         175. Defendant’s failure to protect Plaintiffs’ and Class Members’ PII acted
  26 with a knowing state of mind when it permitted the Data Breach because it knew its
  27 information security practices were inadequate.
  28         176. Defendant knowingly did not notify Plaintiffs and Class Members in a
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   1 timely fashion about the Data Breach.
   2         177. Because Defendant failed to properly safeguard Plaintiffs’ and Class
   3 Members’ PII, Defendant had notice and knew that its inadequate cybersecurity
   4 practices would cause injury to Plaintiffs and the Class.
   5         178. As a proximate result of Defendant’s acts and omissions, the private
   6 and sensitive PII of Plaintiffs and the Class Members was stolen by a third party and
   7 is now available for disclosure and redisclosure without authorization, causing
   8 Plaintiffs and the Class to suffer damages.
   9         179. Defendant’s wrongful conduct will continue to cause great and
  10 irreparable injury to Plaintiffs and the Class since their PII is still maintained by
  11 Defendant with their inadequate cybersecurity system and policies.
  12         180. Plaintiffs and Class Members have no adequate remedy at law for the
  13 injuries relating to Defendant’s continued possession of their sensitive and
  14 confidential records. A judgment for monetary damages will not end Defendant’s
  15 inability to safeguard the PII of Plaintiffs and the Class.
  16         181. Plaintiffs, on behalf of themselves and Class Members, seek injunctive
  17 relief to enjoin Defendant from further intruding into the privacy and confidentiality
  18 of Plaintiffs’ and Class Members’ PII.
  19         182. Plaintiffs, on behalf of themselves and Class Members, seek
  20 compensatory damages for Defendant’s invasion of privacy, which includes the
  21 value of the privacy interest invaded by Defendant, the costs of future monitoring of
  22 their credit history for identity theft and fraud, plus prejudgment interest, and costs.
  23                            THIRD CAUSE OF ACTION
                                 Breach of Implied Contract
  24
                             (On Behalf of Plaintiffs and the Class)
  25
  26         183. Plaintiffs re-allege and incorporate by reference herein all of the
  27 allegations contained in the foregoing paragraphs.
  28         184.   Defendant published its “Privacy Policy” to Plaintiffs and the Class as

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   1 customers on its website In that policy, and Defendant promised, as consideration
   2 to customers providing private and sensitive PII to take appropriate steps to
   3 safeguard personally identifiable information by implementing industry standard
   4 physical, electronic, and operational policies and practices.
   5          185. Defendant further represented, and continue to represent as further
   6 consideration that it had implemented physical, electronic, and procedural
   7 safeguards to maintain confidentiality and integrity of the personal information in
   8 Defendant’s possession, to guard against unauthorized access, and that it would
   9 continue to assess new technology as it becomes available and to upgrade its physical
  10 and electronic security systems as appropriate.
  11          186. These promises by Defendant constituted an implied contract between
  12 Defendant and Plaintiffs and Class Members Defendant breached these implied
  13 contracts by failing to provide the promised adequate security to protect the private
  14 and sensitive PII from disclosure t third parties. Defendant had notice and knew that
  15 its cybersecurity practices were inadequate would cause injury to Plaintiffs and the
  16 Class.
  17          187. As a proximate result of Defendant’s breach of contract the private and
  18 sensitive PII of Plaintiffs and the Class Members was stolen by a third party and is
  19 now available for disclosure and redisclosure without authorization, causing
  20 Plaintiffs and the Class to suffer damages.
  21          188. Defendant’s continue to breach and cause injury great to Plaintiffs and
  22 the Class since their PII is still maintained by Defendant with their inadequate
  23 cybersecurity system and policies.
  24          189. Plaintiffs, on behalf of themselves and Class Members, seek actual and
  25 consequential compensatory damages for Defendant’s breach of contract, which
  26 includes the value of the privacy interest disclosed by Defendant, the costs of future
  27 monitoring of their credit history for identity theft and fraud, plus prejudgment
  28 interest, and costs.

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   1                         FOURTH CAUSE OF ACTION
                                       Unjust Enrichment
   2
                           (On Behalf of Plaintiffs and the Class)
   3        190. Plaintiffs re-allege and incorporate by reference herein all of the
   4 allegations contained in the foregoing paragraphs.
   5        191. This count is pleaded in the alternative to breach of implied contract
   6 above.
   7       192. Upon information and belief, Defendant funds its data security
   8 measures entirely from its general revenue, including payments made by or on behalf
   9 of Plaintiffs and the Class Members.
  10        193. As such, a portion of the payments made by or on behalf of Plaintiffs
  11 and the Class Members is to be used to provide a reasonable level of data security,
  12 and the amount of the portion of each payment made that is allocated to data security
  13 is known to Defendant.
  14       194. Plaintiffs and Class Members conferred a monetary benefit on
  15 Defendant. Specifically, they purchased goods and services from Defendant and/or
  16 its agents and in so doing provided Defendant with their PII. In exchange, Plaintiffs
  17 and Class Members should have received from Defendant the goods and services
  18 that were the subject of the transaction and have their PII protected with adequate
  19 data security.
  20        195. Defendant knew that Plaintiffs and Class Members conferred a benefit
  21 which Defendant accepted. Defendant profited from these transactions and used the
  22 PII of Plaintiffs and Class Members for business purposes.
  23        196. Plaintiffs and Class Members conferred a monetary benefit on
  24 Defendant, by paying Defendant as part of Defendant rendering financial services, a
  25 portion of which was to have been used for data security measures to secure
  26 Plaintiffs’ and Class Members’ PII, and by providing Defendant with their valuable
  27 PII.
  28        197. Defendant was enriched by saving the costs they reasonably should
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   1 have expended on data security measures to secure Plaintiffs’ and Class Members’
   2 PII. Instead of providing a reasonable level of security that would have prevented the
   3 Data Breach, Defendant instead calculated to avoid the data security obligations at
   4 the expense of Plaintiffs and Class Members by utilizing cheaper, ineffective security
   5 measures. Plaintiffs and Class Members, on the other hand, suffered as a direct and
   6 proximate result of Defendant’s failure to provide the requisite security.
   7         198. Under the principles of equity and good conscience, Defendant should
   8 not be permitted to retain the money belonging to Plaintiffs and Class Members,
   9 because Defendant failed to implement appropriate data management and security
  10 measures that are mandated by industry standards.
  11         199. Defendant acquired the monetary benefit and PII through inequitable
  12 means in that it failed to disclose the inadequate security practices previously
  13 alleged.
  14         200. If Plaintiffs and Class Members knew that Defendant had not secured
  15 their PII, they would not have agreed to provide their PII to Defendant.
  16         201. Plaintiffs and Class Members have no adequate remedy at law.
  17         202. As a direct and proximate result of Defendant’s conduct, Plaintiffs and
  18 Class Members have suffered and will suffer injury, including but not limited to: (i)
  19 actual identity theft; (ii) the loss of the opportunity how their PII is used; (iii) the
  20 compromise, publication, and/or theft of their PII; (iv) out-of-pocket expenses
  21 associated with the prevention, detection, and recovery from identity theft, and/or
  22 unauthorized use of their PII; (v) lost opportunity costs associated with effort
  23 expended and the loss of productivity addressing and attempting to mitigate the
  24 actual and future consequences of the Data Breach, including but not limited to
  25 efforts spent researching how to prevent, detect, contest, and recover from identity
  26 theft; (vi) the continued risk to their PII, which remain in Defendant’s possession
  27 and is subject to further unauthorized disclosures so long as Defendant fails to
  28 undertake appropriate and adequate measures to protect PII in their continued

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   1 possession; and (vii) future costs in terms of time, effort, and money that will be
   2 expended to prevent, detect, contest, and repair the impact of the PII compromised
   3 as a result of the Data Breach for the remainder of the lives of Plaintiffs and Class
   4 Members.
   5            203. As a direct and proximate result of Defendant’s conduct, Plaintiffs and
   6 Class Members have suffered and will continue to suffer other forms of injury and/or
   7 harm.
   8            204. Defendant should be compelled to disgorge into a common fund or
   9 constructive trust, for the benefit of Plaintiffs and Class Members, proceeds that they
  10 unjustly received from them. In the alternative, Defendant should be compelled to
  11 refund the amounts that Plaintiffs and Class Members overpaid for Defendant’s
  12 services.
  13                           FIFTH CAUSE OF ACTION
                    Violation of the California Unfair Competition Law
  14
           [Cal. Bus. & Prof. Code § 17200, et seq. – Unlawful Business Practices]
  15                       (On Behalf of Plaintiffs and the Class)
  16
                205. Plaintiffs re-allege and incorporate by reference herein all of the
  17
       allegations contained in the foregoing paragraphs.
  18
                206. LDI violated Cal. Bus. and Prof. Code § 17200, et seq., by engaging in
  19
       unlawful, unfair or fraudulent business acts and practices and unfair, deceptive,
  20
       untrue or misleading advertising that constitute acts of “unfair competition” as
  21
       defined in Cal. Bus. Prof. Code § 17200 with respect to the services provided to the
  22
       Class.
  23
                207. LDI engaged in unlawful acts and practices with respect to the services
  24
       by establishing the sub-standard security practices and procedures described herein;
  25
       by soliciting and collecting Plaintiffs’ and Class Members’ PII with knowledge that
  26
       the information would not be adequately protected; and by storing Plaintiffs’ and
  27
       Class Members’ PII in an unsecure electronic environment in violation of
  28

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   1 California’s data breach statute, Cal. Civ. Code § 1798.81.5, which requires LDI to
   2 take reasonable methods for safeguarding the PII of Plaintiffs and the Class
   3 Members.
   4         208. In addition, LDI engaged in unlawful acts and practices by failing to
   5 disclose the Data Breach in a timely and accurate manner, contrary to the duties
   6 imposed by Cal. Civ. Code § 1798.82.
   7         209. As a direct and proximate result of LDI’s unlawful practices and acts,
   8 Plaintiffs and Class Members were injured and lost money or property, including but
   9 not limited to the price received by LDI for the products and services, the loss of
  10 Plaintiffs’ and Class Members’ legally protected interest in the confidentiality and
  11 privacy of their PII, nominal damages, and additional losses as described herein.
  12         210. LDI knew or should have known that its computer systems and data
  13 security practices were inadequate to safeguard Plaintiffs’ and Class Members’ PII
  14 and that the risk of a data breach or theft was highly likely. LDI’s actions in engaging
  15 in the above-named unlawful practices and acts were negligent, knowing and willful,
  16 and/or wanton and reckless with respect to the rights of Plaintiffs and Class
  17 Members.
  18         211. Plaintiffs, on behalf of the Class, seeks relief under Cal. Bus. & Prof.
  19 Code § 17200, et seq., including, but not limited to, restitution to Plaintiffs and Class
  20 Members of money or property that LDI may have acquired by means of its unlawful,
  21 and unfair business practices, disgorgement of all profits accruing to LDI because of
  22 its unlawful and unfair business practices, declaratory relief, attorneys’ fees and costs
  23 (pursuant to Cal. Code Civ. Proc. § 1021.5), and injunctive or other equitable relief.
  24                             SIXTH CAUSE OF ACTION
              Violation of the Florida Deceptive and Unfair Trade Practices Act
  25
                                  Fla. Stat. §§ 501.201, et seq.
  26              (On Behalf of Plaintiff Schmidt and the Florida Subclass)
  27         212. Plaintiff Schmidt (“Plaintiff for the purposes of this count) re-alleges
  28 and incorporates by reference herein all of the allegations contained in the foregoing

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   1 paragraphs and brings this claim on behalf of himself and the Florida Subclass (the
   2 “Class” for the purposes of this count).
   3         213. Defendant engaged in the conduct alleged in this Complaint through
   4 transactions in and involving trade and commerce. Mainly, Defendant obtained
   5 Plaintiff’s and Class members’ PII through advertising, soliciting, providing,
   6 offering, and/or distributing goods and services to Plaintiff and Class members and
   7 the Data Breach occurred through the use of the internet, an instrumentality of
   8 interstate commerce.
   9         214. As alleged herein this Complaint, Defendant engaged in unfair or
  10 deceptive acts or practices in the conduct of consumer transactions, including, among
  11 other things, the following:
  12            a. failure to implement adequate data security practices to safeguard
  13               Plaintiff’’ and Class Members’ PII;
  14            b. failure to make only authorized disclosures of customers’ and applicants’
  15               PII;
  16            c. failure to disclose that their data security practices were inadequate to
  17               safeguard customers’ PII from theft; and
  18            d. failure to timely and accurately disclose the Data Breach to Plaintiff and
  19               Class members.
  20         215. Defendant’s actions constitute unconscionable, deceptive, or unfair acts
  21 or practices because, as alleged herein, Defendant engaged in immoral, unethical,
  22 oppressive, and unscrupulous activities that are and were substantially injurious to
  23 Defendant’s current and former customers and/or applicants.
  24         216. In committing the acts alleged above, Defendant engaged in
  25 unconscionable, deceptive, and unfair acts and practices acts by omitting, failing to
  26 disclose, or inadequately disclosing to Defendant’s current and former customers and
  27 applicants that they did not follow industry best practices for the collection, use, and
  28 storage of PII.

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   1         217. As a direct and proximate result of Defendant’s conduct, Plaintiff and
   2 Class members have been harmed and have suffered damages including, but not
   3 limited to: ((i) invasion of privacy; (ii) theft of their PII; (iii) lost or diminished value
   4 of PII; (iv) lost time and opportunity costs associated with attempting to mitigate the
   5 actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost
   6 opportunity costs associated with attempting to mitigate the actual consequences of
   7 the Data Breach; (vii) statutory damages; (viii) Plaintiffs’ PII being disseminated on
   8 the dark web, according to Verizon; (ix) nominal damages; and (x) the continued and
   9 certainly increased risk to their PII, which: (a) remains unencrypted and available for
  10 unauthorized third parties to access and abuse; and (b) remains backed up in
  11 Defendant’s possession and is subject to further unauthorized disclosures so long as
  12 Defendant fails to undertake appropriate and adequate measures to protect the PII.
  13         218. As a direct and proximate result of the unconscionable, unfair, and
  14 deceptive acts or practices alleged herein, Plaintiff and Class members have been
  15 damaged and are entitled to recover an order providing declaratory and injunctive
  16 relief and reasonable attorneys’ fees and costs, to the extent permitted by law.
  17         219. Also as a direct result of Defendant’s knowing violation of the Florida
  18 Unfair and Deceptive Trade Practices Act, Plaintiff and Class members are entitled
  19 to injunctive relief, including, but not limited to:
  20             a. Ordering that Defendant implement measures that ensure that the PII of
  21                Defendant’s current and former customers and applicants is
  22                appropriately encrypted and safeguarded when stored on Defendant’s
  23                network or systems;
  24             b. Ordering that Defendant purge, delete, and destroy in a reasonable secure
  25                manner PII not necessary for their provision of services;
  26             c. Ordering that Defendant routinely and continually conduct internal
  27                training and education to inform internal security personnel how to
  28                identify and contain a breach when it occurs and what to do in response

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   1               to a breach; and
   2            d. Ordering Defendant to meaningfully educate its current and former
   3               customers and applicants about the threats they face as a result of the
   4               accessibility of their PII to third parties, as well as the steps Defendant’s
   5               current and former customers must take to protect themselves.
   6                          SEVENTH CAUSE OF ACTION
                         Declaratory Judgment and Injunctive Relief
   7
                           (On Behalf of Plaintiffs and the Class)
   8
   9         220. Plaintiffs re-allege and incorporate by reference herein all of the
  10 allegations contained in the foregoing paragraphs.
  11         221. Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this
  12 Court is authorized to enter a judgment declaring the rights and legal relations of the
  13 parties and to grant further necessary relief. Furthermore, the Court has broad
  14 authority to restrain acts, such as those alleged herein, which are tortious and which
  15 violate the terms of the federal and state statutes described above.
  16         222. An actual controversy has arisen in the wake of the Data Breach at issue
  17 regarding Defendant’s common law and other duties to act reasonably with respect
  18 to employing reasonable data security. Plaintiffs alleges Defendant’s actions in this
  19 respect were inadequate and unreasonable and, upon information and belief, remain
  20 inadequate and unreasonable. Additionally, Plaintiffs and the Class continue to
  21 suffer injury due to the continued and ongoing threat of new or additional fraud
  22 against them or on their accounts using the stolen data.
  23         223. Under its authority under the Declaratory Judgment Act, this Court
  24 should enter a judgment declaring, among other things, the following:
  25               a.     Defendant owed, and continues to owe, a legal duty to employ
  26                      reasonable data security to secure the PII it possesses, and to
  27                      notify impacted individuals of the Data Breach under the
  28                      common law and Section 5 of the FTC Act;

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   1                b.    Defendant breached, and continues to breach, its duty by failing
   2                      to employ reasonable measures to secure its customers’ personal
   3                      and financial information; and
   4                c.    Defendant’s breach of its legal duty continues to cause harm to
   5                      Plaintiffs and the Class.
   6         224. The Court should also issue corresponding injunctive relief requiring
   7 Defendant to employ adequate security protocols consistent with industry standards
   8 to protect its employees’ (i.e., Plaintiffs and the Class’) data.
   9         225. If an injunction is not issued, Plaintiffs and the Class will suffer
  10 irreparable injury and lack an adequate legal remedy in the event of another breach
  11 of Defendant’s data systems. If another breach of Defendant’s data systems occurs,
  12 Plaintiffs and the Class will not have an adequate remedy at law because many of
  13 the resulting injuries are not readily quantified in full and they will be forced to bring
  14 multiple lawsuits to rectify the same conduct. Simply put, monetary damages, while
  15 warranted to compensate Plaintiffs and the Class for their out-of-pocket and other
  16 damages that are legally quantifiable and provable, do not cover the full extent of
  17 injuries suffered by Plaintiffs and the Class, which include monetary damages that
  18 are not legally quantifiable or provable.
  19         226. The hardship to Plaintiffs and the Class if an injunction is not issued
  20 exceeds the hardship to Defendant if an injunction is issued.
  21         227. Issuance of the requested injunction will not disserve the public interest.
  22 To the contrary, such an injunction would benefit the public by preventing another
  23 data breach, thus eliminating the injuries that would result to Plaintiffs, the Class,
  24 and the public at large.
  25                                 PRAYER FOR RELIEF
  26         WHEREFORE, Plaintiffs, on behalf of themselves and Class Members,
  27 request judgment against Defendant and that the Court grants the following:
  28         A.     For an Order certifying the Class and Florida Subclass, and appointing

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   1              Plaintiffs and their Counsel to represent the Class and Florida Subclass;
   2        B.    For equitable relief enjoining Defendant from engaging in the wrongful
   3              conduct complained of herein pertaining to the misuse and/or disclosure
   4              of the PII of Plaintiffs and Class Members;
   5        C.    For injunctive relief requested by Plaintiffs, including but not limited
   6              to, injunctive and other equitable relief as is necessary to protect the
   7              interests of Plaintiffs and Class Members, including but not limited to
   8              an order;
   9                   i.      prohibiting Defendant from engaging in the wrongful and
  10                           unlawful acts described herein;
  11                  ii.      requiring Defendant to protect, including through
  12                           encryption, all data collected through the course of its
  13                           business in accordance with all applicable regulations,
  14                           industry standards, and federal, state or local laws;
  15                 iii.      requiring Defendant to delete, destroy, and purge the
  16                           personal identifying information of Plaintiffs and Class
  17                           Members unless Defendant can provide to the Court
  18                           reasonable justification for the retention and use of such
  19                           information when weighed against the privacy interests of
  20                           Plaintiffs and Class Members;
  21                 iv.       requiring Defendant to provide out-of-pocket expenses
  22                           associated with the prevention, detection, and recovery
  23                           from identity theft, tax fraud, and/or unauthorized use of
  24                           their PII for Plaintiffs’ and Class Members’ respective
  25                           lifetimes;
  26                  v.       requiring Defendant to implement and maintain a
  27                           comprehensive Information Security Program designed to
  28                           protect the confidentiality and integrity of the PII of

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   1                         Plaintiffs and Class Members;
   2                 vi.     prohibiting Defendant from maintaining the PII of
   3                         Plaintiffs and Class Members on a cloud-based database;
   4                vii.     requiring Defendant to engage independent third-party
   5                         security auditors/penetration testers as well as internal
   6                         security personnel to conduct testing, including simulated
   7                         attacks, penetration tests, and audits on Defendant’s
   8                         systems on a periodic basis, and ordering Defendant to
   9                         promptly correct any problems or issues detected by such
  10                         third-party security auditors;
  11                viii.    requiring Defendant to engage independent third-party
  12                         security auditors and internal personnel to run automated
  13                         security monitoring;
  14                 ix.     requiring Defendant to audit, test, and train its security
  15                         personnel regarding any new or modified procedures;
  16                  x.     requiring Defendant to segment data by, among other
  17                         things, creating firewalls and access controls so that if one
  18                         area of Defendant’s network is compromised, hackers
  19                         cannot gain access to other portions of Defendant’s
  20                         systems;
  21                 xi.     requiring Defendant to conduct regular database scanning
  22                         and securing checks;
  23                xii.     requiring Defendant to establish an information security
  24                         training program that includes at least annual information
  25                         security training for all employees, with additional training
  26                         to be provided as appropriate based upon the employees’
  27                         respective   responsibilities    with   handling    personal
  28                         identifying information, as well as protecting the personal

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   1                         identifying information of Plaintiffs and Class Members;
   2                xiii.    requiring Defendant to routinely and continually conduct
   3                         internal training and education, and on an annual basis to
   4                         inform internal security personnel how to identify and
   5                         contain a breach when it occurs and what to do in response
   6                         to a breach;
   7                xiv.     requiring Defendant to implement a system of tests to
   8                         assess its respective employees’ knowledge of the
   9                         education      programs   discussed    in   the   preceding
  10                         subparagraphs, as well as randomly and periodically
  11                         testing employees’ compliance with Defendant’s policies,
  12                         programs, and systems for protecting personal identifying
  13                         information;
  14                 xv.     requiring Defendant to implement, maintain, regularly
  15                         review, and revise as necessary a threat management
  16                         program designed to appropriately monitor Defendant’s
  17                         information networks for threats, both internal and
  18                         external, and assess whether monitoring tools are
  19                         appropriately configured, tested, and updated;
  20                xvi.     requiring Defendant to meaningfully educate all Class
  21                         Members about the threats that they face as a result of the
  22                         loss of their confidential personal identifying information
  23                         to third parties, as well as the steps affected individuals
  24                         must take to protect themselves; and
  25               xvii.     requiring Defendant to implement logging and monitoring
  26                         programs sufficient to track traffic to and from
  27                         Defendant’s servers; and for a period of 10 years,
  28                         appointing a qualified and independent third-party

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   1                           assessor to conduct a SOC 2 Type 2 attestation on an
   2                           annual basis to evaluate Defendant’s compliance with the
   3                           terms of the Court’s final judgment, to provide such report
   4                           to the Court and to counsel for the class, and to report any
   5                           deficiencies with compliance of the Court’s final
   6                           judgment;
   7        D.    For an award of damages, including actual, nominal, statutory,
   8              consequential, and punitive damages, as allowed by law in an amount
   9              to be determined;
  10        E.    For an award of attorneys’ fees, costs, and litigation expenses, as
  11              allowed by law;
  12        F.    For prejudgment interest on all amounts awarded; and
  13        G.    Such other and further relief as this Court may deem just and proper.
  14 Dated: January 29, 2024        Respectfully submitted,
  15
                                    LARSON LLP
  16
                                    By:     /s/ Stephen G. Larson
  17
                                          Stephen G. Larson
  18                                      Paul A. Rigali
  19                                  MILBERG COLEMAN BRYSON
  20                                  PHILLIPS GROSSMAN, LLC
                                         John J. Nelson
  21
  22                                  KOELOWITZ OSTROW P.A.
                                        Jeff Ostrow*
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  24                                  THE CONSUMER PROTECTION FIRM, PLLC
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                                         Amanda J. Allen *
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                                      Attorneys for Plaintiffs and Proposed Class
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  28 * PHV Pending

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   1                             JURY TRIAL DEMANDED
   2        Plaintiffs hereby demand that this matter be tried before a jury.
   3 Dated: January 29, 2024        Respectfully submitted,
   4
                                    LARSON LLP
   5
                                    By:      /s/ Stephen G. Larson
   6
                                          Stephen G. Larson
   7                                      Paul A. Rigali
   8                                 MILBERG COLEMAN BRYSON
   9                                 PHILLIPS GROSSMAN, LLC
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  11                                 KOELOWITZ OSTROW P.A.
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  14                                    William “Billy” Billy Peerce Howard *
  15                                    Amanda J. Allen *

  16                                 Attorneys for Plaintiffs and Proposed Class
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